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                           UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF MINNESOTA


IN RE:                                                             Bankruptcy No. 09-48229-RJK

         E151 MINNESOTA INC.                                                             Chapter 7

                       Debtor.


NOTICE OF HEARING ON THE TRUSTEE’S MOTION FOR AUTHORIZATION TO SELL
RIGHTS TO PAYMENTS TO WHICH THE ESTATE MAY BE ENTITLED PURSUANT TO
                      A CLASS ACTION LITIGATION


         PLEASE TAKE NOTICE that on September 14, 2011, 2011 at 9:30 a.m. before the

Honorable Robert J. Kressel, in Courtroom No. 8 West, United States Courthouse, 300 South

Fourth Street, Minneapolis, Minnesota, the Trustee, Timothy D. Moratzka by and through his

counsel, Mackall, Crounse & Moore, PLC, will move the Court for an Order Pursuant To

Sections 363(b), (f) and (m) of the Bankruptcy Code and Bankruptcy Rules 2002 and 6004

authorizing the trustee to sell rights to payments to which the debtor may be entitled pursuant to

the class action interchange litigation captioned as follows: In re: Payment Card Interchange Fee

and Merchant-Discount Antitrust Litigation (Case No. 1:05-md-01720-JG-JO) (“Class Action

Interchange Litigation”) (or to any subsequently filed amended complaints) filed in the United

States District Court for the Eastern District of New York (“Eastern District Court”), free and

clear of all liens, claims and encumbrances thereon.

         Any response to this motion must be filed and served not later than September 9, 2011,

which is five days before the time set for the hearing (including Saturdays, Sundays, and holidays).

UNLESS A WRITTEN RESPONSE IS TIMELY FILED, THE COURT MAY GRANT THE

MOTION WITHOUT A HEARING.



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Dated: August 25, 2011                MACKALL, CROUNSE & MOORE, PLC

                                      By /e/Timothy D. Moratzka
                                      Timothy D. Moratzka (# 75036)
                                      Mychal A. Bruggeman (#0345489)
                                      1400 AT&T Tower
                                      901 Marquette Avenue
                                      Minneapolis, MN 55402
                                      (612) 305-1400

                                      ATTORNEYS FOR TRUSTEE
1436556.1-TDM




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                             UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF MINNESOTA


  IN RE:                                                              Bankruptcy No. 09-48229-RJK

            E151 MINNESOTA INC.                                                              Chapter 7

                    Debtor.
  ______________________________________________________________________________

      TRUSTEE’S MOTION PURSUANT TO SECTIONS 363(b), (f), AND (m) OF THE
         BANKRUPTCY CODE AND BANKRUPTCY RULES 2002 AND 6004 FOR
         AUTHORIZATION TO SELL RIGHTS TO PAYMENTS TO WHICH THE
            ESTATE MAY BE ENTITLED PURSUANT TO A CLASS ACTION
____________________________________________________________________________________

            Timothy D. Moratzka (“Trustee”) hereby moves this Court for the entry of an Order,

  pursuant to Sections 105(a) and 363 of the Bankruptcy Code approving the sale of any right to

  payment to which the Debtor may be entitled pursuant to a Class Action described below, and

  respectfully represents as follows:

                                             Background

            1.   On December 3, 2009 (“Commencement Date”), an involuntary case under

  section 303 of title 11 of the United States Code (“Bankruptcy Code”) was commenced against

  the Debtor with this Court. An order of relief was entered against the Debtor on December 29,

  2009. Timothy D. Moratzka was appointed trustee on January 27, 2010 (“Appointment Date”).

  The Trustee has been liquidating the Debtor’s assets pursuant to Title 11 of the United States

  Code and the authority granted by the Court. The Trustee is engaged in efforts to ensure that the

  value of the estate’s assets are realized, which efforts include pursuing the sale of all remaining

  assets.
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                                           Jurisdiction

       2.    This Court has jurisdiction to consider this matter pursuant to 28 U.S.C. §§ 157 and

1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue is proper before this

Court pursuant to 28 U.S.C. §§ 1408 and 1409.

                                         Relief Requested

       3.    By this motion, pursuant to section 363 of the Bankruptcy Code and Rules 2002 and

6004 of the Federal Rules of Bankruptcy Procedure (“Bankruptcy Rules”), the Trustee seeks

authorization to sell the rights to any payments the Debtor may recover as a result of its potential

involvement as a putative class member in the litigation styled In re: Payment Card Interchange

Fee and Merchant-Discount Antitrust Litigation (Case No. 1:05-md-01720-JG-JO) (“Class

Action Interchange Litigation”) (or to any subsequently filed amended complaints) filed in the

United States District Court for the Eastern District of New York (“Eastern District Court”), free

and clear of all liens, claims and encumbrances thereon.

                            The Class Action Interchange Litigation

       4.    On February 20, 2009, the Class Action Interchange Litigation was commenced in

the Eastern District Court by various retailers and trade associations (“Plaintiffs”) against, among

other entities, Visa U.S.A. Inc. (“Visa”) and Mastercard International, Inc. (“Mastercard” and

collectively with all other named defendants in the Class Action Interchange Litigation, the

“Defendants”). The Plaintiffs claim that, between January 1, 2004 and the present, the

Defendants conspired to unlawfully fix the price of “interchange fees” and other fees charged to

merchants for transactions processed over the Visa and Mastercard networks. An interchange

fee is a fee that a merchant’s bank pays a customer’s bank when merchants accept cards using

card networks such as Visa and MasterCard for purchases.



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       5.    As of the date hereof, the Plaintiffs have not yet certified a class in the Class Action

Interchange Litigation, a trial date has not been announced, and a settlement (“Settlement”) has

not been reached. If the Plaintiffs are successful in certifying a class and either prevail in the

Class Action Interchange Litigation or such litigation results in a Settlement (“Settlement

Event”), the Debtor may be included in the class and, accordingly, may be entitled to a monetary

recovery (“Asset”). At this time, however, it is impossible to predict whether the Plaintiffs will

prevail or whether a Settlement Event will occur, but any disposition is several years away.

             The Trustee’s Proposed Sale of the Debtor’s Right to the Payments

       6.    In order to bring additional assets into its estate, the Trustee proposes to sell the

Debtor’s contingent rights to the Asset to Cascade Settlement Services, LLC (“Purchaser” or

“Cascade”). The Trustee negotiated the Asset Purchase and Sale Agreement (“Sale

Agreement”), annexed hereto as Exhibit A, with the Purchaser.

       7.    The Sale Agreement provides for the sale of the Asset by the Trustee to the

Purchaser for a cash purchase price of $130,000 (“Purchase Price”). Having failed to receive

any other inquiries or offers for the Asset and given Cascade’s assumption of certain risks,

including: (a) the risk that the Plaintiffs fail to certify a class in the Class Action Interchange

Litigation; (b) the risk that a Settlement Event does not occur; (c) the risk that the case is

dismissed; (d) the risk that the Defendants prevail; (e) the risk that the size of any potential

settlement fund is unknowable prior to the Settlement Event; and (f) the risk that the ultimate

payment of any awards could occur many years into the future, the Trustee negotiated the Sale

Agreement with the Purchaser after investigation of the Class Action Interchange Litigation.

       8.    Subject to this Court’s approval of the Sale Agreement, the sale of the Asset to the

Purchaser will be free and clear of any and all claims, liens, encumbrances, judgments and



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security interests. None are known to exist. Any asserted liens will attach to the proceeds. The

salient terms of the Sale Agreement are summarized below:1

        •       Sale and Purchase of Asset. Purchaser agrees to purchase all right, title and
                interest in the Asset from the Trustee, and the Trustee agrees to sell, transfer and
                assign all right, title and interest in the Asset to Purchaser (Sale Agreement
                §§ J & 2.1).

        •       Payment of Purchase Price. In consideration for the sale of the Asset by the
                Trustee to Purchaser, Purchaser will wire transfer to the Trustee the Purchase
                Price using wire instructions to be provided by the Trustee, within 14 business
                days of the later of (i) full execution of the Sale Agreement; and (ii) approval of
                the Sale by the Bankruptcy Court (Sale Agreement §2.2).

        •       Notice of Assignment. In addition to the Sale Agreement, the Parties will
                execute a Notice of Assignment and Authorization to Obtain Transactional Data
                (Sale Agreement §2.7).

        •       No Assumption of Obligations or Liabilities. Upon the execution of the Sale
                Agreement, Purchaser shall assume all obligations and liabilities relating to the
                Asset but shall not assume, or in any way become liable for, any obligation or
                liability of the Trustee or Debtor independent of the Asset (Sale Agreement §2.8).

        •       Title to Asset; No Liens. The Trustee represents and warrants that the estate has
                good, valid and marketable title to the Asset and the Asset is free and clear of
                any mortgage, pledge, lien, security interest, claim or encumbrance. The Trustee
                has not transferred the Asset or any interest therein except to Purchaser under the
                Sale Agreement (Sale Agreement §3.5).

        •       No Fiduciary or Confidential Relationship. The Trustee acknowledges that the
                Trustee and Purchaser are not in a fiduciary, confidential, agency or otherwise
                special relationship, including one of trust, confidence or privity, and that the
                Trustee and Purchaser are each acting for their own self interest and Purchaser
                acknowledges same (Sale Agreement §§3.14 & 4.12).

        •       Waiver of Claims. The Trustee covenants that, to the maximum extent permitted
                by law, he will not assert and will waive any and all claims against Purchaser or
                any of its members, officers, directors, employees, agents or affiliates with respect
                to the Sale Agreement, any Ancillary Agreement or the transactions contemplated

1
   The following represents only a summary of the salient provisions of the Sale Agreement; the Sale
Agreement itself should be referred to in its entirety for the specific terms and conditions thereof. If there
is any inconsistency between the following summary and the Sale Agreement, the terms and conditions of
the Sale Agreement will control. Capitalized terms used, but not defined in the following summary, have
the meaning ascribed to such terms in the Sale Agreement.


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               in the Sale Agreement or thereby based on any claim that Purchaser had superior
               or additional information material to a decision to sell or buy the Asset (Sale
               Agreement §5.2).

      Sale of the Estate’s Right to the Asset Pursuant to the Terms of the Sale Agreement
      Is an Appropriate Exercise of Sound Business Judgment and Should Be Approved

       9.     Under section 363 of the Bankruptcy Code, a trustee may sell property of its estate

outside of the ordinary course of its business, subject to the approval of the court after notice and

a hearing. See 11 U.S.C. § 363(b)(1). It is well settled that a decision to sell assets outside the

ordinary course of business be based upon the sound business judgment of the trustee. See, e.g.,

In re Martin, 91 F.3d 389 (3d Cir. 1996), citing, In re Schipper, 933 F.2d 513 (7th Cir. 1991);

Stephens Indus., Inc. v. McClung, 789 F.2d 386 (6th Cir. 1986); In re Lionel Corp., 722 F.2d

1063 (2d Cir. 1983); Licensing By Paolo, Inc. v. Sinatra (In re Gucci), 126 F.3d 380, 387 (2d

Cir. 1997) (“A sale of a substantial part of a Chapter 11 estate may be conducted if a good

business reason exists to support it.”); Comm. of Equity Security Holders v. Lionel Corp. (In re

Lionel Corp.), 722 F.2d 1063, 1071 (2d Cir. 1983); In re Chateaugay Corp., 973 F.2d 141, 143

(2d Cir. 1992); Stephens Indus. v. McClung, 789 F.2d 386, 390 (6th Cir. 1986) (“bankruptcy

court can authorize a sale of all a Chapter 11 Debtor’s assets under [section] 363(b)(1) when a

sound business purpose dictates such action.”); Comm. of Asbestos-Related Litigants v. Johns-

Manville Corp. (In re Johns-Manville Corp.), 60 B.R. 612, 616 (Bankr. S.D.N.Y. 1986) (“Where

the debtor articulates a reasonable basis for its business decisions (as distinct from a decision

made arbitrarily or capriciously), courts will generally not entertain objections to the debtor’s

conduct.”).


       10.    Courts typically consider the following four factors in determining whether a

proposed sale satisfies this standard:



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             •    whether a sound business justification exists for the sale;

             •    whether adequate and reasonable notice of the sale was given to interested parties;

             •    whether the sale will produce a fair and reasonable price for the property; and

             •    whether the parties have acted in good faith.

See, e.g., In re Weatherly Frozen Food Group, Inc., 149 B.R. 480, 483 (Bankr. N.D. Ohio

1992); In re Delaware & Hudson Ry. Co., 124 B.R. 169, 176 (D. Del. 1991).


       11.       The Trustee submits that sound business justification exists which merits judicial

approval of the proposed sale. The Purchase Price is reasonable and, to the best of the Trustee’s

knowledge, there is no other potential buyer willing to pay more for this contingent asset.

Although, absent the sale, the Trustee could collect the value of the Asset, if any, in due time, the

estate does not have additional time to spare to wait to determine if the Asset will have value.

The business of the Debtor has been terminated and the Trustee is liquidating the Debtor’s assets.

Indeed, a trial has not been commenced in the Class Action Interchange Litigation and a class

has yet to be certified. It may be years before the estate would recover anything, assuming a

class is certified in the Class Action Interchange Litigation, the Debtor is a member of the class,

and the class is successful in obtaining a recovery. Therefore, the benefit of receiving immediate

payments for a contingent asset that may not otherwise result in a recovery for several years is

clear. The sale will allow the Trustee to realize additional funds for the benefit of its estate,

thereby increasing the pool of assets available for creditor distribution. The Trustee has provided

notice of this motion pursuant to orders of this court and the Bankruptcy Code and Rules. Thus,

it is the Trustee’s sound business judgment that the value to be realized by the Debtor’s estate

through the sale of the Asset, and the fact that the proposed sale is the end result of good-faith




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negotiations between the Trustee and the Purchaser, the proposed sale of the Asset to the

Purchaser is in the best interest of the Debtor’s estate and its creditors.

                An Auction of the Debtor’s Rights to the Contingent Asset Is Not Required

        12.   In accordance with Bankruptcy Rule 6004(f)(1), asset sales outside of the ordinary

course of business may be by private or public sale. Fed. R. Bankr. P. 6004(f)(1). A trustee has

broad discretion in determining the manner in which its assets are sold. Berg v. Scanlon (In re

Alisa P’ship), 15 B.R. 802, 802 (Bankr. D. Del. 1981) (“[T]he manner of [a] sale is within the

discretion of the trustee . . .”); In re Bakalis, 220 B.R. 525, 531 (Bankr. E.D.N.Y. 1998) (noting

that a trustee has “ample discretion to administer the estate, including authority to conduct public

or private sales of estate property”) (internal quotations and citations omitted). As long as a

trustee maximizes the return to its estate, a court should defer to a trustee’s business judgment of

how to conduct a sale of its assets. Id. at 532 (recognizing that although a trustee’s business

judgment enjoys great judicial deference, a duty is imposed on the trustee to maximize the value

obtained from a sale); In re Nepsco, Inc., 36 B.R. 25, 26 (Bankr. D. Me. 1983) (“Clearly, the

thrust of th[e] statutory scheme [governing 363 sales] is to provide maximum flexibility to the

trustee, subject to the oversight of those for whose benefit he acts, i.e., the creditors of the

estate.”). Accordingly, if a trustee concludes that conducting a private sale, as opposed to a

public auction, is in the best interest of the estate, the trustee should be permitted to do so. Penn

Mut. Life Ins. Co. v. Woodscape Ltd. P’ship (In re Woodscape Ltd. P’ship), 134 B.R. 165, 174

(Bankr. D. Md. 1991) (noting that, with respect sales of estate property, “[t]here is no prohibition

against a private sale . . . and there is no requirement that the sale be by public auction”).

        13.   The Trustee submits that a private sale of the estate’s rights to the Asset is

appropriate. The Trustee does not believe that there are any other parties that would offer to



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purchase this Asset. The delay and costs associated with marketing the estate’s rights to the

Asset would likely negate any benefit derived through a public sale of the Asset. Accordingly,

the Trustee submits that a private sale of the estate’s rights to the Asset is in the best interest of

the Debtor’s estate and should be approved.

                             Sale of the Estate’s Rights to the Asset
                   Clear of Liens, Claims and Encumbrances Is Appropriate

        14.   The Trustee further submits that it is appropriate that its rights to the Asset be sold

free and clear of liens, claims and encumbrances pursuant to section 363(f) of the Bankruptcy

Code, with any such liens, claims, encumbrances, or interests to attach to the sale proceeds

thereof. Section 363(f) of the Bankruptcy Code provides:

                The trustee may sell property under subsection (b) or (c) of this section
                free and clear of any interest in such property of an entity other than the
                estate, only if—

                (1) applicable nonbankruptcy law permits sale of such property free and
                clear of such interest;

                (2) such entity consents;

                (3) such interest is a lien and the price at which such property is to be sold
                is greater than the aggregate value of all liens on such property;

                (4) such interest is in bona fide dispute; or

                (5) such entity could be compelled, in a legal or equitable proceeding, to
                accept a money satisfaction of such interest.

11 U.S.C. § 363(f).

        15.   To facilitate the sale of the estate’s rights to the Asset, the Trustee seeks

authorization to sell such rights free and clear of any and all liens, claims and encumbrances,

with such liens, claims and encumbrances to attach to the net proceeds of such sale with the same

rights and priorities therein. Because section 363(f) is stated in the disjunctive, when selling

property of the estate, it is only necessary to meet one of the five conditions of that section.

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11 U.S.C. § 363(f). See Citicorp Homeowners Servs., Inc. v. Elliot (In re Elliot), 94 B.R. 343,

345 (E.D. Pa. 1988) (“[Section 363(f)] is written in the disjunctive, not the conjunctive.

Therefore, if any of the five conditions of § 363(f) are met, the trustee has the authority to

conduct the sale free and clear of all liens”).

       16.   As of the date hereof, the Trustee is not aware of any liens or interests held by any

party in respect of the estate’s rights to the Asset. The Trustee submits that the Court should

authorize the sale of the estate’s rights to the Asset free and clear of any and all liens, claims and

encumbrances, with any of the same to be transferred and attached to the net proceeds of the

sale, with the same validity and priority that such liens, claims and encumbrances had against the

rights to the Asset. Thus, the sale of the Debtor’s rights to the Asset free and clear of liens,

claims and encumbrances will satisfy the statutory prerequisites of section 363(f) of the

Bankruptcy Code.

                                       Good-Faith Purchaser

       17.   Section 363(m) of the Bankruptcy Code protects the sale of a debtor’s property to a

good-faith purchaser. Section 363(m) provides:

               The reversal or modification on appeal of an authorization under
               subsection (b) or (c) of this section of a sale or lease of property does not
               affect the validity of a sale or lease under such authorization to an entity
               that purchased or leased such property in good faith, whether or not such
               entity knew of the pendency of the appeal, unless such authorization and
               such sale or lease were stayed pending appeal.

11 U.S.C. § 363(m).

       18.   Although the Bankruptcy Code does not define “good faith purchaser,” the

United States Court of Appeals for the Third Circuit (“Third Circuit”) has noted that the phrase

“encompasses one who purchases in ‘good faith’ and ‘for value.’” In re Abbotts Dairies of Pa.,

Inc., 788 F.2d at 147. Further, the Third Circuit has recognized that the type of misconduct that


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would destroy a purchaser’s good faith status involves “‘fraud, collusion between the purchaser

and other bidders or the Debtor, or an attempt to take grossly unfair advantage of other bidders.’”

Id. (citing In re Rock Indus. Mach. Corp., 572 F.2d 1195, 1198 (7th Cir. 1978)). The Trustee has

in good faith and without collusive action negotiated the terms and conditions of the sale of the

Debtor’s rights to the Asset to the Purchaser. Accordingly, the Trustee requests the Court

determine the Purchaser to be acting in good faith and entitled to the protections afforded to good

faith purchasers under section 363(m) of the Bankruptcy Code.

        19.     To successfully implement the Sale Agreement, the Trustee seeks a waiver of the

fourteen-day stay under Bankruptcy Rule 6004(h).

                                        No Previous Request

        20.     The Trustee has made no previous request for the relief sought herein to this or any

other court.

        WHEREFORE, the Trustee respectfully requests entry of an order granting the relief

requested herein and such other and further relief as is just.



Dated: August 25, 2011                          MACKALL, CROUNSE & MOORE, PLC

                                                By /e/Timothy D. Moratzka
                                                Timothy D. Moratzka (# 75036)
                                                Mychal A. Bruggeman (#0345489)
                                                1400 AT&T Tower
                                                901 Marquette Avenue
                                                Minneapolis, MN 55402
                                                (612) 305-1400


                                                ATTORNEYS FOR TRUSTEE



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                                 U.S. BANKRUPTCY COURT
                                 DISTRICT OF MINNESOTA
IN RE:

E151 Minnesota, Inc.                                                             CHAPTER 7
                                                                       CASE NO. 09-48229-RJK
         Debtor
                   UNSWORN DECLARATION FOR PROOF OF SERVICE

Jinah E. Finnes         , employed by Mackall, Crounse & Moore, attorney(s) licensed to practice
law in this court, with office address of 1400 AT&T Tower, 901 Marquette Avenue,
Minneapolis, MN 55402-2859, declares that on the date set forth below, caused the following
documents:
Notice of Hearing on the Trustee’s Motion for Authorization to Sell Rights to Payments to
       Which the Debtor May be Entitled Pursuant to the Class Action Interchange
 Litigation; Trustee’s Motion Pursuant to Sections 363(b), (f), and (m) of the Bankruptcy
Code and Bankruptcy Rules 2002 And 6004 for Authorization to Sell Rights to Payments to
   Which the Estate May be Entitled Pursuant to a Class Action; and Proposed Order

to be filed electronically with the Clerk of Court through ECF, and that ECF will send an e-
notice of the electronic filing to the following:

   •     Kurt M. Anderson kmalaw-service@qwestoffice.net, kmalaw-
         service@sprynet.com;kmalaw@qwestoffice.net
   •     Mychal A. Bruggeman mab@mcmlaw.com,
         ldj@mcmlaw.com;mcm_trustee@mcmlaw.com;jef@mcmlaw.com
   •     Colin F Dougherty cdougherty@faegre.com
   •     Stephen M Harris sharris@meyernjus.com
   •     Edward T Matthews ematthews@fredlaw.com
   •     Kent D. Mattson t.chaput@pemlaw.com
   •     John R. McDonald jmcdonald@briggs.com, mjacobson@briggs.com
   •     Timothy D Moratzka mcm_trustee@mcmlaw.com,
         tmoratzka@ecf.epiqsystems.com;ldj@mcmlaw.com
   •     Timothy D. Moratzka tdm@mcmlaw.com, ldj@mcmlaw.com;jef@mcmlaw.com
   •     David A. Orenstein david.orenstein@btlaw.com, szacher@btlaw.com
   •     Marcus A Ploeger mploeger@briggs.com, mjacobson@briggs.com
   •     Jacob B. Sellers jsellers@winthrop.com,
         jahlers@winthrop.com;tcooke@winthrop.com
   •     Jeffrey D. Smith jsmith@lindquist.com, ddavis@lindquist.com
   •     Joseph G Springer jspringer@fredlaw.com
   •     Patrick C Summers pcs@mcmlaw.com, kkl@mcmlaw.com
   •     Mark H Thieroff markthieroff@siegelbrill.com, amyditty@siegelbrill.com
   •     US Trustee ustpregion12.mn.ecf@usdoj.gov

        I further certify that I served said document upon each of the following entities who are
not on the Court’s ECF system by mailing to each of them a copy thereof, enclosing same in an

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envelope with first class mail postage prepaid and depositing same in the post office at
Minneapolis, Minnesota:

BRADLEY A COSMAN                                     E151 MINNESOTA, INC.
SQUIRE SANDERS & DEMPSEY                             PO BOX 41878
40 N CENTRAL AVE STE 2700                            PLYMOUTH, MN 55441
PHOENIX, AZ 85004

RONALD HOROWITZ                                      INLAND REAL ESTATE CORPORATION
TINDALL PROFESSIONAL PLAZA                           C/O MARK VYVYAN, ESQ.
14 TINDALL ROAD                                      200 S SIXTH STREET, STE 4000
MIDDLETOWN, NJ 07748                                 MINNEAPOLIS, MN 55402

DARRELL KOEHLINGER                                   JAMES M NJUS
ADYME LLC                                            MEYER & NJUS PA
2925 DEAN PARKWAY STE 300                            200 S 6TH ST STE 1100
MINNEAPOLIS, MN 55416                                MINNEAPOLIS, MN 55402

PHILIP OLISS
SQUIRES SANDERS & DEMPSEY LLP
4900 KEY TOWER
127 PUBLIC SQUARE
CLEVELAND, OH 44114

And I declare, under penalty of perjury, that the foregoing is true and correct.

Dated: August 25, 2011                                /e/Jinah E. Finnes
                                                      Jinah E. Finnes
1437317.1-JEF




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                     UNITED STATES BANKRUPTCY COURT
                           DISTRICT OF MINNESOTA
______________________________________________________________________________

IN RE:                                                               Bankruptcy No. 09-48229-RJK

         E151 MINNESOTA INC.                                                                Chapter 7

                  Debtor.
______________________________________________________________________________

    ORDER PURSUANT TO SECTIONS 363(b), (f) AND (m) OF THE BANKRUPTCY
       CODE AND BANKRUPTCY RULES 2002 AND 6004 AUTHORIZING THE
       TRUSTEE TO SELL RIGHTS TO PAYMENTS TO WHICH THE ESTATE
               MAY BE ENTITLED PURSUANT TO A CLASS ACTION
______________________________________________________________________________

         Upon the Motion, dated August 25, 2011 (“Motion”), of Timothy D. Moratzka,

Trustee of E151 Minnesota, Inc. fdba Snyder’s Drug Stores, Inc. (“Trustee”), pursuant to

section 363 of title 11 of the United States Code (“Bankruptcy Code”) and Rules 2002 and 6004

of the Federal Rules of Bankruptcy Procedure (“Bankruptcy Rules”) for authorization to sell the

Debtor’s rights to the Asset to Cascade Settlement Services, LLC (“Purchaser”) free and clear of

all liens, claims and encumbrances for $130,000, all as more fully set forth in the Motion

pursuant to the Sale Agreement annexed hereto as Exhibit A; and the Court having jurisdiction to

consider the Motion and the relief requested therein in accordance with 28 U.S.C. § § 157 and

1334; and consideration of the Motion and the relief requested therein being a core proceeding

pursuant to 28 U.S.C. § 157(b); and venue being proper before this Court pursuant to 28 U.S.C.

§§ 1408 and 1409; and due and proper notice of the Motion having been provided; and it

appearing that no other notice need be provided; and a hearing (the “Hearing”) on the Motion

having been held before the Court on September 14, 2011; and upon the record of the Hearing;

and such relief being in the best interest of the estate and creditors; and any objections to the

Motion having been resolved, withdrawn or otherwise overruled by this Court; and after due


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deliberation, and sufficient cause appearing therefor, it is:

FOUND AND DETERMINED THAT:

       A.      The findings and conclusions set forth herein constitute the Court’s findings of

fact and conclusions of law pursuant to Bankruptcy Rule 7052, made applicable to this

proceeding pursuant to Bankruptcy Rule 9014.

       B.      To the extent any of the following findings of fact constitute conclusions of law,

they are adopted as such. To the extent that any of the following conclusions of law constitute

findings of fact, they are adopted as such.

       C.      Proper, timely, adequate and sufficient notice of the Motion has been provided in

accordance with sections 102(1) and 363 of the Bankruptcy Code, Bankruptcy Rules 2002, 6004,

and 9014 and order of this Court, and no other or further notice of the Motion or sale shall be

required.

       D.      The Trustee has the authority to execute the Agreement and other documents

contemplated thereby.

       E.      Sound business reasons exist for the Sale pursuant to the Agreement. Entry into

the Agreement and consummation of the transactions contemplated thereby constitute the

exercise by the Trustee of sound business judgment and such acts are in the best interest of the

estate and creditors. The Court finds that the Trustee has articulated good and sufficient business

reasons justifying the Sale pursuant to Bankruptcy Code sections 105 and 363. Such business

reasons include, but are not limited to, the fact that the Agreement constitutes the highest and

best offer for the Assets.

       F.      The Agreement was negotiated, proposed and entered into by the Trustee and

Purchaser without collusion, in good faith, and from arm’s-length negotiating positions. Neither



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the Purchaser nor the Trustee have engaged in any conduct that would cause or permit the

Agreement to be avoided under Bankruptcy Code section 363(n).

        G.      A sale of the Asset other than one free and clear of liens, claims and

encumbrances would impact the estate materially and adversely and will yield substantially less

for the estate. The Trustee may sell the Asset free and clear of all liens and claims of any kind

because one or more of the standards set forth in Bankruptcy Code section 363(f) has been

satisfied.

        H       A reasonable opportunity to be heard on the Motion was afforded to all parties in

interest.

        I.      The Purchaser is not an “insider” of the Debtor as defined in Bankruptcy Code

section 101.

        J.      Upon payment of $130,000 to Trustee, the transfer of the Asset to the Purchaser

will be a legal, valid, and effective transfer of the Asset and will vest the Purchaser with all right,

title and interest of the Debtor and its estate to the Asset free and clear of all liens, claim and

encumbrances, including those that purport to give any party any right to terminate the Debtor’s

or Purchaser’s rights to the Asset.

BASED ON THE PROCEEDINGS HAD HEREIN, IT IS:

        ORDERED that the Motion is GRANTED; and it is further

        ORDERED than any objections to the Motion, not previously withdrawn, are overruled;

and it is further

        ORDERED that the Sale Agreement, and all of its terms and conditions are approved in

their entirety; and it is further




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          ORDERED that pursuant to section 363(b) of the Bankruptcy Code, the Trustee is

authorized to sell its rights to the Asset to the Purchaser for the consideration of $130,000 as

described in the Motion; and it is further

          ORDERED that pursuant to section 363(f) of the Bankruptcy Code, the sale of the Debtor

and its estate’s rights to the Asset to the Purchaser (“Sale”) shall be free and clear of any and all

liens, claims and encumbrances, with such liens, claims and encumbrances to attach to the

proceeds of the Sale with the same force, effect, and priority as such liens, claims and

encumbrances have on the estate’s right to the Asset, as appropriate, subject to the rights and

defenses of the estate and any party in interest with respect thereto; and it is further

          ORDERED that pursuant to Bankruptcy Code section 363(b), the Trustee is authorized

and directed to perform the obligations herein and comply with the terms of the Sale Agreement,

and consummate the Sale, pursuant to and in accordance with the conditions of the Sale

Agreement; and it is further

          ORDERED that the Trustee is authorized to execute and deliver, and empowered to

perform under, consummate and implement the Sale Agreement, together with all additional

instruments and documents that may be reasonably necessary to implement the Sale Agreement,

and take all further actions that may be reasonably required for the purpose of assigning,

transferring, conveying and conferring the Asset to the Purchaser, or as may be necessary or

appropriate to the performance of the obligations contemplated by the Sale Agreement; and it is

further

          ORDERED that the Purchaser is granted the protections provided to a good faith

purchaser under section 363(m) of the Bankruptcy Code; and it is further




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          ORDERED that the transfer of the Asset to the Purchaser pursuant to the Sale Agreement

constitutes a legal, valid, and effective transfer of the Asset; and shall vest the Purchaser with all

right, title and interest of the Debtor and its estate in and to the Asset; it is further

          ORDERED that the failure specifically to include any particular provision of the Sale

Agreement in this Order shall not diminish or impair the effectiveness of such provision, it being

the intent of the Court that the Sale Agreement is authorized and approved in its entirety; and it is

further

          ORDERED that the fourteen-day stay under Bankruptcy Rule 6004(h) is waived.



ENTERED:
                                                         Robert J. Kressel
                                                         United States Bankruptcy Court Judge




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